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                                IN THE UNITED STATES DISTRICT
                          COURT FOR THE SOUTHERN DISTRICT OF TEXAS
                                    BROWNSVILLE DIVISION

MARTHA TORRES                                         §
    PLAINTIFFS                                        §
                                                      §
VS.                                                   §     CASE NO. 1:15-cv-40
                                                      §
STANDARD GUARANTY INSURANCE                           §
COMPANY                                               §
     DEFENDANT                                        §
                                                      §

       STANDARD GUARANTY INSURANCE COMPANY’S NOTICE OF REMOVAL

           1.        Defendant Standard Guaranty Insurance Company (“Standard Guaranty”) files

this Notice of Removal pursuant to 28 U.S.C. Sections 1441 and 1446 as follows:

                                          I. INTRODUCTION

           2.        This case is removable because all proper parties to this litigation are citizens of

different states and the matter in controversy exceeds $75,000.00.

                                II. COMMENCEMENT AND SERVICE

           3.        The underlying lawsuit was commenced on January 30, 2015, when Plaintiff filed

her Original Petition (“Original Petition”) in the 445th Judicial District Court of Cameron

County, Texas, styled Cause No. 2015-DCL-00685, Martha Torres v. Standard Guaranty

Insurance Company.1 Plaintiffs served Standard Guaranty via certified mail, return receipt

requested through the District Clerk’s office with a summons on February 5, 2015.

           4.        This Notice of Removal is filed within thirty days of the receipt by Standard

Guaranty of Plaintiff’s Original Petition and is thus timely filed pursuant to 28 U.S.C. § 1446(b).

This Notice of Removal is also filed within one year of the commencement of this action, and is

thus timely pursuant to 28 U.S.C. § 1446(c).
1
    See Exhibit B-1, Original Petition.
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                                   III. GROUNDS FOR REMOVAL

          5.         Standard Guaranty is entitled to remove the state court action to this Court

pursuant to 28 U.S.C. §§ 1332, 1441 and 1446 because this action is a civil action involving an

amount in controversy exceeding $75,000.00 between parties with diverse citizenship.

                                 IV. DIVERSITY OF CITIZENSHIP

          6.         This is an action with complete diversity of citizenship between Plaintiff and

Standard Guaranty.

          7.         Plaintiff is a citizen of Texas.

          8.         Standard Guaranty is organized under the laws of Delaware with its principal

place of business in Atlanta, Georgia. Standard Guaranty is therefore a citizen of the states of

Delaware and Georgia within the meaning and intent of 28 U.S.C. § 1332.

          9.         No change of citizenship has occurred since commencement of the state court

action. Accordingly, diversity of citizenship exists among the parties.

                                   V. PLAINTIFF’S ALLEGATIONS

          10.        The Original Petition alleges several causes of action stemming from Standard

Guaranty’s adjustment of Plaintiff’s claims for property damages made under a lender-placed

residential property policy of insurance

                                 VI. AMOUNT IN CONTROVERSY

          11.        Plaintiff’s Original Petition (“Petition”) provides that the amount in controversy is

“in excess of the minimum jurisdictional limits of this Court”. The Petition does not state a

specific amount in controversy. In the Fifth Circuit, a defendant who is served with a pleading

requesting an indeterminate amount of damages (as is the case here) has two options. The

defendant may either remove the case immediately if it can reasonably conclude that the amount

in controversy exceeds $75,000.00, or the defendant may wait until the plaintiff serves some

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“other paper” indicating that the amount in controversy exceeds that amount.             See U.S.C.

§ 1446(b)(3); U.S.C. § 1446(c)(3)(A). If the defendant chooses to remove the case immediately,

then the federal court may determine the amount in controversy by: (i) looking to the defendant’s

removal papers, (ii) making an independent appraisal of the amount of the claim, or (iii)

remanding the case. Allan v. R & H Oil & Gas Co., 63 F.3d 1326, 1336 (5th Cir. 1995) (holding

that “[a] court, in applying only common sense, would find that if the plaintiffs were successful

in their punitive damages claim, they would collect more than [$75,000.]”); Marcel v. Pool Co.,

5 F.3d 81, 84–85 (5th Cir. 1993) (holding that remand was properly denied where it was

“facially apparent” from the complaint that damages could easily exceed the court's jurisdictional

limits). If this Court makes an independent appraisal of the amount of Plaintiff’s claims in this

case or relies on Standard Guaranty’s removal papers, the Court will conclude that the amount in

controversy of the causes of action brought by Plaintiff exceeds $75,000.00.

     A. THE AMOUNT IN CONTROVERSY              OF THE CLAIMS BROUGHT BY PLAINTIFFS EXCEEDS
        $75,000 BASED ON DEMAND.

          12.        The amount in controversy of Plaintiff’s claims in this case exceeds $75,000.00.

Courts in the Fifth Circuit frequently look to demand letters to ascertain the amount in

controversy.         Addo v. Globe Life & Accident Ins. Co., 230 F.3d 759, 761 (5th Cir.2000)

(considering demand letter to determine amount in controversy). Here, Plaintiff served Standard

Guaranty with a demand letter seeking actual economic damages of $22,870.12. Plaintiff trebled

the economic damages under §541 of Texas Insurance Code and the DTPA for an amount of

$68,610.36, eighteen percent (18%) interest in the amount of $2,744.41, six percent (6%)

prejudgment interest in the amount of $914.80, and current attorney’s fees for drafting the

demand letter of $2,500.00, for a total demand of $74,769.58. Plaintiff state in the letter this




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amount could be trebled.2 Plaintiff states in her letter this amount, as well as an additional sum

for mental anguish, could be trebled. Plaintiff also seeks exemplary and punitive damages 3 for

Defendant’s alleged bad faith, and additional attorney’s fees incurred through trial. Furthermore,

based on the claims asserted and the intricate issues involved, the amount of attorneys’ fees

sought will greatly increase throughout the course of litigation. St. Paul Reinsurance Co., Ltd. V.

Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998) (stating that amount in controversy should

include potential attorney’s fees incurred through trial).             Plaintiff’s token allegation is not

binding on Plaintiff or this court. It is simply a means by which to avoid diversity jurisdiction.

Accordingly, the Original Petition and demand letter establish that the total amount in

controversy in the action exceeds the sum of $75,000.00, and this Court has jurisdiction under 28

U.S.C. § 1332.

           B. THE AMOUNT IN CONTROVERSY OF THE CLAIMS BROUGHT BY
              PLAINTIFF EXCEEDS $75,000 BECAUSE PLAINTIFF HAS NOT
              STIPULATED THAT SHE WILL NOT ACCEPT AN AWARD THAT
              EXCEEDS THE THRESHOLD OR THAT SHE AFFIRMATIVELY SEEKS
              LESS THAN THE JURISDICTIONAL THRESHOLD.

           13.       “[A] Texas plaintiff must be able to show to a ‘legal certainty’ that he ‘will not be

able to recover more than damages for which he has prayed in the state court complaint.’ The

plaintiff may do so by filing a legally ‘binding stipulation or affidavit’ with their state court

complaint, stating that he affirmatively seeks less than the jurisdictional threshold and further

stating that he will not accept an award that exceeds that threshold.” (emphasis in original)

(citing DeAguilar II, 47 F.3d at 1411-12; Allen, 63 F.3d at 1335 n.14). See DeAguilar II, 47 F.3d

at 1412; see also Blanco v. Wal-Mart Stores Tex., L.L.C., 2011WL 3681560, at *1 n.2 (W.D.

Tex. July 15, 2011) “[P]laintiffs who wish to ensure, to a legal [certainty], that their complaints

2
    Exhibit G, Plaintiff’s January 15, 2015, Demand Letter, at p. 4.
3
    See Exhibit B, Original Petition, at ¶ X, p. 13.

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are not construed to include an amount in controversy over $75,000, are well served by filing,

concurrently with their complaints in state court, a binding stipulation or affidavit, which state

that they will not accept more than the sum or value of $75,000, exclusive of interests and costs.”

(alterations in original) (emphasis in original) (quoting Sanchez v. HP Enter. Servs., L.L.C.,

EP11-CV-49-PRM, slip op., at 4 (W.D. Tex. Apr. 4, 2011)); Vidaurri v. H.M.R. Props., 2007

WL 1512029, at *6 (W.D. Tex. Mar. 8, 2007) (finding no legal certainty that the amount in

controversy was less than $75,000 because the plaintiff did not provide “a binding stipulation

that he will not seek or accept more than $75,000.00” (emphasis added)); Lite-Martin v. Sw.

PCS, L.P., 2003 WL 22477694, AT *3 (W.D. Tex. Nov. 3, 2003) (“Although in the petition,

Plaintiff attempts to state that the damages will not exceed $74,000, Plaintiff does not stipulate

that [he] will not seek more than $74,000.”). Likewise, Plaintiff in this case has not so stipulated.

          14.        Even though Plaintiff alleges in paragraph VIII of Plaintiff’s Original Petition that

Plaintiff’s damages do not exceed $75,000, the rest of the pleading and the demand letter provide

otherwise.

                                             VII. VENUE

          15.        Venue lies in the Southern District of Texas, Brownville Division, pursuant to 28

U.S.C. §§ 1441(a) and 1446(a) because the Plaintiff filed the state court action in this judicial

district and division.

                                            VIII. NOTICE

          16.        Defendant will give notice of the filing of this notice of removal to all parties of

record pursuant to 28 U.S.C. § 1446(d). Defendant will also file with the clerk of the state court,

and will serve upon Plaintiff’s counsel, a notice of the filing of this Notice of Removal.




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                                  IX. STATE COURT PLEADINGS

          17.        Copies of all state court pleadings and orders are attached to this Notice of

Removal.

                             X. EXHIBITS TO NOTICE OF REMOVAL

          18.        Pursuant to Rule 81 of the Local Civil Rules for the Southern District of Texas,

the following documents are attached to this Notice as corresponding numbered exhibits:

                         A. All executed process in the case;

                         B. Pleadings asserting causes of action, e.g., petitions, counterclaims, cross
                            actions, third-party actions, interventions and all answers to such
                            pleadings;

                                1. Plaintiff’s Original Petition;

                         C. Docket sheet;

                         D. An index of matters being filed;

                         E. A list of all counsel of record, including addresses, telephone numbers and
                            parties represented;

                         F. Civil Cover Sheet;

                         G. Plaintiff’s January 15, 2015, Demand Letter; and

                         H. Plaintiff’s Texas Residential Property Policy.

          19.        There are no orders signed by the state court judge.


                                          XI.    JURY DEMAND

          20.        Plaintiff has demanded a jury in the state court proceeding.




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                                      XII. CONCLUSION

          WHEREFORE, Defendant, pursuant to the statutes cited herein and in conformity with

the requirements set forth in 28 U.S.C. § 1446, removes this action from the 445th Judicial

District Court of Cameron County, Texas to this Court.

Dated: February 27, 2015




                                                      Respectfully submitted,



                                                      /s/ April F. Robbins
                                                      April F. Robbins
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                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was forwarded to all counsel
of record pursuant to the applicable Federal Rules of Civil Procedure on this 27th day of
February, 2015 as follows:

          Via Electronic Filing
           Jake Rogiers
          Speights & Worrich
          1350 North Loop 1604, Suite 104
          San Antonio, Texas 78232
          Email: jake@speightsfirm.com



                                                          /s/ April F. Robbins
                                                               April F. Robbins




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